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Exhibit 210
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enna

From: Fredrickson, David R.

Sent: Thursday, June 07, 2018 12:37 PM

To: Szczepanik, Valerie; Seaman, Michael P.

Subject: FW: Ether speech

Attachments: DRAFT Digital Assets Speech 6 7 reaction to comments.docx

My reactions to TM’s comments.

From: Greiner, Natasha (Vij)

Sent: Wednesday, June 06, 2018 9:37 PM

To: Fredrickson, David R.; Szczepanik, Valerie; Seaman, Michael P.

Cc: Redfearn, Brett; Seidel, Heather; Goldsholle, Gary; Maitra, Neelanjan; Bergoffen, Roni E; Orr, Andrea
Subject: RE: Ether speech

All *

Attached are TM’s comments on Bill’s draft speech. Please let us know if you have any questions or would like to discuss

further.

Thanks,
Natasha

From: Seidel, Heather

Sent: Monday, June 04, 2018 11:21 AM

To: Greiner, Natasha (Vij); Maitra, Neelanjan
Subject: Fwd: Ether speech

Sent from my iPhone

Begin forwarded message:

From: "Hinman, William" MM@ SEC.GOVv>

Date: June 4, 2018 at 11:10:36 AM EDT

To: "Moskowitz, Lucas" <§J@SEC.GOV>, "Memon, Sean" <P SEC.GOV>, "Fox, Raquel"
<BBIQSEC.GOV>, "Redfearn, Brett" SEC.GOV>, "Blass, Dalia" (EM @sec.cov>, "Avakian,
Stephanie" <I @ SEC.GOV>, "Peikin, Steven" <J@sec.cov>, "Karp, David Ss." SEC.GOV>,
"Stebbins, Robert" MEEEEEB@SEC.GOV>, "Jarsulic, Laura" HEEEMMI@ SEC.GOv>, "Morris, Daniel (Bryant)”
<EEE, @ s.cc. gov>, "McHugh, Jennifer B." <MMB@sec.cov>, "Bartels, David P." <§@sec.covp,
"Goldsholle, Gary" <M@ SEC.GOV>, "Seidel, Heather" MMI @sec.cov>

Ce: "Fredrickson, David R." <[@ SEC.GOV>, "Szczepanik, Valerie" MJ @sec.Gove,
"Seaman, Michael P.” SEEN SEC.GOV>

Subject: Ether speech

 

 

 

Attached please find a draft of the speech | had mentioned, which suggests that we do not need to see a need
to regulate Ether, as it is currently offered, as asecurity. That language is in brackets and would be used if we
all are in agreement. We also have a call with Buterin later this week to confirm our understanding of how the
Ethereum Foundation operates.

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Please feel free to share any comments with me and the folks in the cc line.

Thanks
Bill

 

William Hinman
Director of the Division of Corporation Finance
U.S. Securities and Exchange Commission

sec. gOv

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[something witty and snappy

There has been considerable discussion recently in the press and at legal conferences
than a security. I think framing the question that way might miss an important point, which I

hope to make with my remarks here today.

To start, I think a better line of inquiry is: “Can a digital asset or token that was originally
offered in a securities offering ever be sold in a manner that does not constitute a securities
offering?” In cases where the digital asset or token represents a set of rights that give the holder
a financial interest in an enterprise the answer is likely no. In these cases, calling the transaction

an initial coin offering, or “ICO,” won't take it out of the purview of the U.S. securities laws.

But what of those cases where there is no central enterprise being invested in and where
the digital asset or token is sold only to be used to purchase a good or service available through
the network on which it was created? I believe in these cases the answer is a qualified “yes,” and
I'd like to share my thinking with you today about the circumstances under which that could

oceur.

First, | would like to start with a little background on the new world of digital assets.

Most of you are no doubt quite familiar with Bitcoin and know of blockchain — or distributed

' Section 2(a)(1) of the 1933 Act [15 U.S.C. 8 77b(a)(1)] and Section 3(a)(10) of the 1934 Act [15 U.S.C.
78c(a(10)] define “security.” Section 2(a)(1) of the 1933 Act and Section 3(a)(10) of the 1934 Act contain ‘‘slightly
different formulations” of the terms “security,” but which the U.S. Supreme Court has “treated _as essentially
identical in meaning,” Reves v. Emst & Young. 494 U.S. 56 at 61. n. 1. My emphasis today focuses on the is
implications underef the 1933 Act. The Exchange Act of 1934 and Investment Company of 1940 may raise
additional issues that others are more able to address.

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inaDigital Asset Transactions under the Securities Act of 1933:

4

 

Commented [A1]:

As ageneral overall comment, this speech is what the general
public/market participants have been asking for, so we are very
supportive of the speech and whatit is communicating.

The general sentiment of the speech is focused on the “whatis @
security” discussion. Query whether we should reframe the
title/intro andinitial questions within the introductory paragraph to
focus on the “whatis a security’ discussion rather than the issue of
morphing.

As written, we wouldlike to add a disdaimer that the remarks
primarily pertain to the Securities Act, as there are significant
Exchange Act implications {especialy fo the extent that a digital
asset is a security) that are not discussed. We will draft somethire
and send it along.

 

 

| Commented [A2]: Consider adding a FN noting the following:

Section 2(a}(1} of the 1933 Act [15 U.S.C. § 77b{a}{1)}] and Section
3(a}{10) of the 1934 Act [15U.5S.C. § 78c(a}(10)] define “security.”
Section 2(a}{1} of the 1923 Act and Section 3{a}{10} of the 1924 Act
contain “slightly different formulations” of the terms “security,” but
which the U.S. Supreme Court has “treated as essentially identical
in meaning,” Reves v. Ernst & Young, 494U.S. 56 at61, n. 1.

 

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ledger — technology. As I have come to learn, what may be most exciting about this technology
is the ability to share information, transfer value, and record transactions in a decentralized
digital environment. What does that mean? Payment systems, supply chain management,
intellectual property rights licensing, stock ownership transfers and countless other potential
applications can be conducted electronically, with a public, immutable record without the need
for a trusted third party to verify transactions. Using these new networks, one can create digital
information packets that can be transferred using eneryption keys. These packets are sometimes
called coins or tokens, and can be obtained through mining, distribution, sale or exchange by
users in the network, Some people believe these new systems will forever transform e-
commerce as we know it. There is excitement around this new technology. There is also a great

deal of “irrational exuberance” and, unfortunately, many cases of fraud.

But that is not what I want to focus on today. I am here to talk about how these digital
tokens and coins are being issued, distributed and sold. In order to raise money to develop these
new systems, promoters’ often sell the tokens themselves, rather than sell shares, issue notes or
obtain bank financing. We have seen public distributions on the internet and private placements
to sophisticated investors. But, in many cases, the economic substance is the same: funds are
raised with the expectation that the promoters will build their system and investors can earna
return on the instrument — usually by selling their tokens in the secondary market as the value of

the digital enterprise increases once the promoters create something of value with the proceeds.

2 T am using the term “promoters” in a broad, generic sense. The important factor in the legal analysis is that there is
a person or coordinated group that is working actively to develop the infrastructure of the network. This person or
group may be, variously, founders, sponsors, developers, or “promoters” in the traditional sense. The presence of
promoters in this context is important to distinguish from the circumstance where multiple, independent actors work
on the network but no individual actor’s or coordinated group of actors’ efforts are essential.

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When we see that kind of economic transaction, itis easy to apply the Supreme Court’s

 

“investment contract” test first announced in SEC v. Howey} As you will remember, the test _ | Commented [A3]: Consider noting that while Howey is often
EEE EEE EE used to deterrnine whether a digital assetis a security, there are
“ < = < ‘ * 5 also other applicable tests/legal standards that could apply in this
requires an investment of money in a common enterprise with an expectation of profit derived context {depending on the facts and circumstances).

 

from the efforts of others. And it is important to reflect on the facts of Howey. A Florida hotel
operator sold interests in a citrus grove to its largely out-of-state guests. The transaction was
recorded as a real estate sale, together with a service contract. In theory, purchasers could
arrange to service the grove themselves, but few pursued that option. In fact, the purchasers
were passive, relying largely on the Howey Service Company’s efforts tending the assets for a
return. And in articulating the test for an investment contract, the Supreme Court stressed:
“Form [is] disregarded for substance and the emphasis [is] placed on economic realities.”* So

the purported real estate purchase was found to be an investment contract, and hence a security.

In the ICOs we have seen, overwhelmingly, promoters tout their ability to create some
innovative application of blockchain technology. The investors are passive. Marketing efforts
are rarely targeted to potential users of the application. And the viability of the application is
still uncertain. At that stage, the purchase of a token looks a lot like a bet on the success of the
enterprise and not the purchase of something that may someday be used to exchange for goods or

services on the network.

As an aside, you might ask, given that these token sales often look like securities
offerings, why are the promoters choosing to package the investment as an ICO or token

offering? This is an especially good questionif the network on which the token or coin will

3 SEC v. W.J. Howey Co, 328 U.S. 293 (1946)._Depending on the facts of any given instrument, it may also need to
be evaluated as a possible security under the general definition of security and the case law interpreting its elements.

 

4 Td. at 298.

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function is not yet operational. I think there can be a number of reasons. For a while, it was
believed such labeling might, by itself, remove the transaction from the securities laws. I think
people now realize labeling an investment opportunity as a coin or token, does not achieve that
result. Second, this labelling might be hoped to bring some marketing “sizzle” to the enterprise.
That might still work to some extent, but the track record of ICOs is still being sorted out and
some of the sizzle may now be more of a potential warning flare for investors. Some may be
attracted to crowdfund through a blockchain mediated process. Digital assets can represent a
relatively frictionless way to reach a global audience in order to seed a network where initial
purchasers have a stake in the success of the network and become part ofits early adopting
participants who add value beyond their investment contributions. Related to this, some believe
that once the token or coin is operational, it will cease to be a security and secondary liquidity
may be easier to achieve. While | recognize that possibility, as | will discuss, the ability to
transact in a coin or token on the secondary market requires a careful and fact-sensitive legal

analysis.

I believe some industry participants are beginning to realize that, in some circumstances,
it might be easier fo start a blockchain-based enterprise in a more conventional way. In other
words, do the initial finding through a conventional equity or debt offering and once the network
is up and running, distribute or offer blockchain based tokens or coins to participants who need.
the functionality the network and the digital assets offer. This allows the tokens or coins to be
structured and offered in a way where it is evident purchasers are not making an investment in

the development of the enterprise.

Returning to the ICOs we are seeing, strictly speaking, the token — or coin or whatever

the digital information packet is called — all by itselfis not a security, just as the orange groves in

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Howey were not. Central to determining whether a security is being sold is how it is being sold.
For example, when a certificate of deposit is sold by a federally regulated bank, the CD 1s nota
security.” When a CD is sold as a part of a program organized by a broker who offers retail
investors promises of liquidity and ability to profit from changes in interest rates, the CD is part
of an investment contract that is a security.° Similarly, when someone buys a housing unit to
live in — even when represented by an instrument called “stock” — it is probably not a security.’
When the housing unit is offered with a management contract or other services as an investment,

it can be a security.*

And so with digital assets. The digital asset itself'is simply code. But the way it is sold —
as part of an investment; to non-users; by promoters to develop their idea — can be, and, in that
context, most often 1s, a security — because it evidences an investment contract. And regulating
these transactions as securities transactions makes sense. The impetus of the Securities Act is to
remove the information asymmetry between promoters andinvestors. Ina public distribution,
the Securities Act prescribes the information investors need in order to make an informed
decision, and the promoter is liable for material misstatements in the offering materials. These
are important safeguards, and they are appropriate for most ICOs. The disclosure marries nicely
with the Howey investment contract element about the efforts of others. As an investor, the
success of the enterprise — and the ability to realize a profit on the investment — turns on the
efforts of the third party. The investor is relying on the third party. So learning material

information about the third party — its background, financing, plans, financial stake, and so forth

5 Marine Bank v. Weaver, 455 U.S. 551 (1982).

6 Gary Plastics Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 756 F.2d 230 (2d Cir. 1985).

7 United Housing Found., Inc. v. Forman, 421 U.S. 837 (1975).

® Guidelines as to the Applicability of the Federal Securities Laws to Offers and Sales of Condominiums or Units in
a Real Estate Development, SEC Rel. No. 33-5347 (Jan. 4, 1973).

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—1s a prerequisite to making an informed investment decision. Unless the third party is
compelled by the securities law to disclose what it alone knows of these topics and the risks

associated with the venture, investors will be uninformed and are at risk.

But this also points the way to when a digital asset may no longer represent a security.
When the efforts of the third party are no longer a key deternmning factor for the enterprise’s
success, material information asymmetries recede. Moreover, as a network becomes truly
decentralized, the ability to identify an issuer to make the disclosure becomes difficult, and

perhaps meaningless.

And so, when we look at Bitcoin, we do not see a third party whose efforts are a key
determining factor in the enterprise. The value of Bitcoin turns on the efforts of decentralized
miners and independent market participants’ assessments of an open-source payment
mechamsm. Applying the disclosure provisions of the Ssecurities Actlaws in this situation
language subject to confirmation of our understanding of the Ethereum network in
discussions with representatives of Ethereum Foundation.] [Likewise, based on our
understanding of the present state of Ether and the Ethereum network, regulating the offer and

sale of Ether as a security-dees-netseemte-beawarranted would not appear to further the policy

continue to be systerns that rely on central actors whose efforts are key to the success of the

enterprise. In those cases, application of the securities laws can protect the investors who

° [Secondary trading in Ether, and other digital assets, can raise other policy issues under the Exchange Act of 1934

and the Commodities Exchange Act.

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Commented [A4]: See comment below regarding “not
warranted.” Although we do not want to suggest that BTCisa
security, taking too st’ong é position on the lack of any benefits
from the disclosure provisions of the federal securities laws
(presumably 33 Act} might be a wedge that could undermine SEC
efforts towards other crypto-assets where the asset is 4 security
and applying the 34 Act principles of fair and orderly markets would
provide great value,

 

 

Commented [A5]:

As we discussed, as written, we have concerns regarding the
sentiment within this section of the speech. We think the relevant
question, as discussed throughout the rest of the speech, is
whether a digital asset meets the legal standards of a security, not
whether ft warrants regulation as a security, and have a particular
coneern due to the Exchange Act implication;

   
   

in addition, we question whether a statement like this
would provide tess, nat rore, clarify to the industry on the question
of whether ether is a security.

If Bill {and/or the Chairman's office) wants to make a blanket
statement that Ether is not a security {barring any changes of
thought based on the meeting later this week with Buterin {or his
counsel}}, we will need to discuss this further internally and with
Brett.

 

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purchase the coins. There will be disclosure requirements and SEC-supervised-tegulated trading

 

mediated by regulated entities. _- | Commented [AG]: Not sure what is meant by mediated. Also,
oe “SEC-supervised” is probably too strong, as we don't usually refer
to our oversight as “supervision.” SEC-regulated would be better.

 

As I have tried to point out, the analysis is not static and the nature of a security does not
inhere to the instrument.’° Like CDs — which when issued by a federally regulated bank are not
securities but when repackaged as part of an investment strategy can be securities — even digital
assets with utility in an existing eco-system could be packaged and sold as an investment
strategy that can be a security. A promoter could place Bitcoin in a fund or trust and sell
interests, creating a new security. Similarly, investment contracts can be made out of virtually
any asset (including virtual assets), provided the investor is reasonably expecting profits from the

promoter’s efforts.

Let me emphasize an earlier point: simply labeling a digital asset a “utility token” does
not turn the asset into something that is not a security.'' True, the Supreme Court has
acknowledged that if someone is purchasing an asset for consumption only, it is likely not a

security.'? But the economic substance of the transaction determines the legal analysis, not the

 

labels." The oranges in Howey had utility. Or in my favorite example, the Commission warned __ _ - -[ Commented [A7]: Fix cite. |

 

inthe late 1960s about investment contracts sold in the form of whisky warehouse receipts. '*
Promoters sold the receipts to US investors to finance the aging and blending processes of

Scotch whisky. The whisky was real — and, for some, had exquisite utility. But Howey was not

'0 The Supreme Court’s investment contract test “embodies a flexible rather than a static principle, one that is
capable of adaptation to meet the countless and variable schemes devised by those who seek the use of the money of
others on the promise of profits.’ Howey, at 299.

'l “'TThe name given to an instrument is not dispositive.” Forman, at 850.

'2 Forman, at 853.

2 See above

14 SEC Rel. No. 33-5018 (Nov. 4, 1969); Investment in Interests in Whisky, SEC Rel. No. 33-5451 (Jan 7, 1974).

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selling oranges and the warehouse receipts promoters were not selling whisky for consumption.

They were selling investments, and the purchasers were expecting a return.

We expect issuers and market participants will want to understand whether transactions
ina particular digital asset involve the sale of a security. We are not trying to play “regulatory
gotcha.” We are happy to help promoters and their counsel work through these issues. We stand
prepared to provide more formal interpretive or no action guidance to market participants about

the proper characterization of a digital asset in a proposed use.

What are some of the factors we would look to? Whether a digital asset is offered as an

investment contract and is thus a security will always depend on the particular facts and

 

circumstances, and {this listlig illustrative, notexhaustive, == _ |] Commented [AS]: As a general comment, please consider tying

\ these factors more dosely and explicitly to the Howey analysis. It
may aiso be worth reiterating here that standards and tests other
than Howey may also be applicable.

1. Is there a person or organized group that has sponsored or promoted the creation and sale ‘\.

 

Commented [A9]: Seems to me, this listis best focused on
“efforts of others” and the other to “utlity/consumption”

of the digital assets, the efforts of which play a significant role in the development and

 

maintenance of the asset and its potential increase in value?

2. (Has this person or group retained a stake or other interest in the digital asset such that it

 

 

 

would be motivated to expend efforts to cause an increase in value in the digital asset? | foment [A410]: Why is this factor relevant endhow would

Would purchasers reasonably believe such efforts will be undertaken and may result ina

return on their investment in the digital asset? Does the promoter continue to expend

funds from proceeds or operations to enhance the functionality and/or value of the system

within which the token operate? Has the promoter raised an amount of funding that

seems reasonably related to the costs of creating thehetwork] ces | Commented [A121]: This seems ambiguous. What about
“SL emounts raised and earmarked for marketing or reserves?

 

ork
i Commented [A12]: On reflection, I’m not seeing the obvious
*_ Lconnection to “efforts of others”

 

Commented [A13]: Why is this factor relevant and how would
it be applied?

 

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| 3. | [Are purchasers “investing,” that is seeking a return? In that regard, is]Is the instrument

 

 

 

 

 

marketed and sold to potential users of the network for a price that reasonably correlates | _.- | Commented [A14]: What would constitute “reasonable
~ correlation” for the purposes of this test?
with the market value of the good or service in the network? ee | Commented [A15]: Or, i'd be tempted to move this to the next
EEE list.

4. [Does application of the Securities Act protections make sense%| Is there a person or entity _ _ - -{ Commented [A16]: Although this statementhighlights the
required disclosure framework within the Securities Act, we have

: ‘ . . some concern that this ignores the existence of the Exchange Act
others are relying on that plays a key role in the profit-making of the enterprise such that and the protections therein. (Although the introductory disclaimer

that the speech is primarily focused on the regulatory frarnework
within the Securities Act may fix this issue}

 

disclosure of their activities and plans would be helpful to investors? Do informational
asymmetries exist between the promoters and potential purchaser/investors in the digital

asset?

In the meantime, are there contractual or technical ways to structure digital assets so they are less
likely to act like a security? I believe so. Again, these are certainly not “get out of jail free”
cards, and we would look to the economic substance of the transaction, but promoters and their
counsels should consider these, and other, possible features. This list is not intended to be
exhaustive and by no means do I believe each and every one of these factors needs to be present

to establish a case that a token is not being offered as a security.

1. ‘Is token creation commensurate with meeting the needs of users or, rather, with feeding

 

 

 

speculation? eo? Commented [A17]: This is ambiguously worded and it is not
ee dear why this fs relevant.
2. Can tokens be hoarded br are they distributed in ways to meet users’ needs? For ces (eee [A18]: Unclear what this intends to cover? Can’t
“aaa eee any asset be hoarded?

 

example, does the token degrade in value over time or canit only be held or transferred in

amounts that correspond to a purchaser expected use?

 

3. Are the assets dispersed across a diverse user base or concentrated in ithe/hands ofafew __- {eanmerted [A19]: Does this go to the efforts of others part of
“ae Howey?

 

 

4. Have purchasers made representations as to their consumptive, as opposedto their _- 7] Commented [A20]: Does thisgo to the expectation of profits
part of Howey? Whatif purchasers can have either a consumptive
. . or an investment intent? And how does the purchasers intent tie
investment, intent? into the issuer/seller’s intent?

 

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5. IIs the promoter supporting the secondary market for the assets or are independent actors

 

secondary market has been a key factor in our analysis. We suggest
moving this concept to the other fist {to the extent you keep two

setting the price? ee ee ee eee en nn nn _~ 7 | Commented [A21]: The concept of promoting the idea of
separate lists).

6. Is the application in early stage development or fully functioning?

 

 

be apparent to the reader which characteristic or factor weigh

7. Is the asset marketed and distributed to potential users or the general public? | __ | Commented [A22]: General comment - as written, it maynot
against it being a security or not.

 

These are exciting legal times and I am pleased to be part of a process that can help
promoters of this new technology and their counsel navigate and comply with the federal

securities laws.

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